      Case:14-08561-MCF7 Doc#:121 Filed:07/12/18 Entered:07/12/18 10:05:00                              Desc:
                            Converting Case Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:

CARMELO CAEZ CRUZ
dba CAR GRUA                                                Case No. 14−08561 MCF
AMARILYS COLON FERNANDEZ
aka AMARILYS COLON, dba CCDN MOTHER
GOOSE, dba CENTRO DE CUIDO MOTHER                           Chapter 13
GOOSE


xxx−xx−2682                                                 FILED & ENTERED ON 7/12/18
xxx−xx−4966


                         Debtor(s)



                                                       ORDER

The motion filed by Debtors requesting conversion of case to chapter 7 (docket #110, 115) is hereby granted. Clerk is
to proceed accordingly.

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Thursday, July 12, 2018 .
